     Case 2:19-bk-14693-BR          Doc 42 Filed 12/19/19 Entered 12/19/19 11:34:19                 Desc
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1    Wesley H. Avery, Trustee
     758 E. Colorado Blvd., Suite 210
2
     Pasadena, CA 91101
3
     Telephone: (626) 395-7576
4    Lucy@AveryTrustee.com
5    Chapter 7 Trustee

6

7                              UNITED STATES BANKRUPTCY COURT

8               CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

9    In re:                                            )   Case No. 19-14693-BR
                                                       )
10   GOT NEWS, LLC                                     )                  Chapter 7

11                                                     )
                                                       )   NOTICE OF CONTINUED MEETING OF
12                          Debtor(s).                 )   CREDITORS AND APPEARANCE OF
                                                       )   DEBTOR(S) 11 U.S.C. §341(a)
13                                                     )

14   TO THE ABOVE NAMED DEBTOR(S) AND THE ATTORNEY ON RECORD, IF ANY:
              You are hereby notified that the Meeting of Creditors pursuant to Title 11 U.S.C. Section
15   341(a) in the above entitled matter was continued to February 19, 2020 at 01:30 PM, located
     at: Office of the United States Trustee, 915 Wilshire Blvd., 10th Floor, Los Angeles, CA 90017
16   for the reason set forth below:

17           ☒ Administrative reasons. Appearance excused on 12/16/2019. Please contact
     trustee's office one week prior to the continued date whether appearance will be required.
18
      DATED: December 19, 2019                         /s/ Wesley H. Avery
19                                                     Wesley H. Avery, Chapter 7 Trustee
20

21   I certify that I served the within Notice on the above debtor(s), the attorney of record (if any), and
     interested parties on December 19, 2019.
22
                                                       /s/ Lucy Mavyan
23                                                     Lucy Mavyan, Trustee Administrator

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      GOT NEWS, LLC
28   5812 TEMPLE CITY BLVD, #402
     TEMPLE CITY, CA 91780
